        Case 1:18-cv-05391-SCJ Document 193 Filed 01/08/20 Page 1 of 7




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 FAIR FIGHT ACTION, INC, et al.,
       Plaintiffs,
       v.                                             Civ. Act. No. 18-cv-5391 (SCJ)
 BRAD RAFFENSPERGER, et al.,
     Defendants.



     PLAINTIFFS’ THIRD SUPPLEMENTAL EXPERT DISCLOSURES

       In accordance with the Court’s direction at the July 11, 2019, Scheduling

Conference and with the Court’s Scheduling Order of the same date (ECF No. 78),

and consistent with their obligations pursuant to Federal Rule Civil Procedure

26(a)(2), Plaintiffs hereby disclose an additional expert witness whom they may

use at trial to present evidence under Federal Rule of Evidence 702, 703, or 705.

       Plaintiffs reserve the right to supplement this list with additional experts and

in response to Defendants’ disclosure of expert witnesses.

1.     Dr. Michael P. McDonald – Dr. McDonald is Associate Professor of

Political Science at the University of Florida and a Non-resident Senior Fellow at

the Brookings Institution. He received his Ph.D. in Political Science from the

University of California, San Diego, and his B.S. degree in economics from
        Case 1:18-cv-05391-SCJ Document 193 Filed 01/08/20 Page 2 of 7




California Institute of Technology. A copy of his curriculum vitae is appended as

Attachment 1. Dr. McDonald is expected to testify about the Secretary of State’s

purge or cancellation of registered voters in Georgia, the bases for such action, and

the identity and status of those registered voters affected by such action.

      This the 8th day of January, 2020.

                                 /s/ Leslie J. Bryan
                                 Allegra J. Lawrence (GA Bar No. 439797)
                                 Leslie J. Bryan (GA Bar No. 091175)
                                 Maia Cogen (GA Bar No. 832438)
                                 Suzanne Smith Williams (GA Bar No. 526105)
                                 LAWRENCE & BUNDY LLC
                                 1180 West Peachtree Street
                                 Suite 1650
                                 Atlanta, GA 30309
                                 Telephone: (404) 400-3350
                                 Fax: (404) 609-2504
                                 allegra.lawrence-hardy@lawrencebundy.com
                                 leslie.bryan@lawrencebundy.com
                                 maia.cogen@lawrencebundy.com
                                 suzanne.williams@lawrencebundy.com

                                 Thomas R. Bundy (Admitted pro hac vice)
                                 LAWRENCE & BUNDY LLC
                                 8115 Maple Lawn Boulevard
                                 Suite 350
                                 Fulton, MD 20789
                                 Telephone: (240) 786-4998
                                 Fax: (240) 786-4501
                                 thomas.bundy@lawrencebundy.com
Case 1:18-cv-05391-SCJ Document 193 Filed 01/08/20 Page 3 of 7




                      Dara Lindenbaum (Admitted pro hac vice)
                      SANDLER REIFF LAMB ROSENSTEIN &
                      BIRKENSTOCK, P.C.
                      1090 Vermont Avenue, NW
                      Suite 750
                      Washington, DC 20005
                      Telephone: (202) 479-1111
                      Fax: 202-479-1115
                      lindenbaum@sandlerreiff.com

                      Elizabeth Tanis (GA Bar No. 697415)
                      John Chandler (GA Bar No. 120600)
                      957 Springdale Road, NE
                      Atlanta, GA 30306
                      Telephone: (404) 771-2275
                      beth.tanis@gmail.com
                      jachandler@gmail.com

                      Kurt G. Kastorf (GA Bar No. 315315)
                      THE SUMMERVILLE FIRM, LLC
                      1226 Ponce de Leon Avenue, NE
                      Atlanta, GA 30306
                      Telephone: (770) 635-0030
                      Fax: (770) 635-0029
                      kurt@summervillefirm.com

                      Matthew G. Kaiser (Admitted pro hac vice)
                      Sarah R. Fink (Admitted pro hac vice)
                      Scott S. Bernstein (Admitted pro hac vice)
                      Norman G. Anderson (Admitted pro hac vice)
                      KAISERDILLON PLLC
                      1099 Fourteenth Street, NW
                      Eighth Floor West
                      Washington, DC 20005
                      Telephone: (202) 640-2850
                      Fax: (202) 280-1034
                      mkaiser@kaiserdillon.com
                      sfink@kaiserdillon.com
                      sbernstein@kaiserdillon.com
                      nanderson@kaiserdillion.com
Case 1:18-cv-05391-SCJ Document 193 Filed 01/08/20 Page 4 of 7




                      Andrew D. Herman (Admitted pro hac vice)
                      Nina C. Gupta (Admitted pro hac vice)
                      MILLER & CHEVALIER CHARTERED
                      900 Sixteenth Street, NW
                      Washington, DC 20006
                      Telephone: (202) 626-5800
                      Fax: (202) 626-5801
                      aherman@milchev.com
                      ngupta@milchev.com

                      Kali Bracey (Admitted pro hac vice)
                      JENNER & BLOCK LLP
                      1099 New York Avenue, NW
                      Suite 900
                      Washington, DC 20001
                      Telephone: (202) 639-6000
                      Fax: (202) 639-6066
                      kbracey@jenner.com

                      Jeremy H. Ershow (Admitted pro hac vice)
                      JENNER & BLOCK LLP
                      919 Third Avenue
                      New York, New York 10022
                      Telephone: (212) 891-1600
                      Fax: (212) 891-1699
                      jershow@jenner.com

                      Von A. DuBose
                      DUBOSE MILLER LLC
                      75 14th Street N.E., Suite 2110
                      Atlanta, GA 30309
                      Telephone: (404) 720-8111
                      Fax: (404) 921-9557
                      dubose@dubosemiller.com
Case 1:18-cv-05391-SCJ Document 193 Filed 01/08/20 Page 5 of 7




                      Johnathan Diaz (Admitted pro hac vice)
                      Paul M. Smith (Admitted pro hac vice)
                      CAMPAIGN LEGAL CENTER
                      1101 14 St. NW Suite 400
                      Washington, DC 20005
                      Telephone: (202)736-2200
                      psmith@campaignlegal.org
                      jdiaz@campaignlegal.org


                      Counsel for Fair Fight Action, Inc.; Care in
                      Action, Inc.; Ebenezer Baptist Church of Atlanta,
                      Georgia, Inc.; Baconton Missionary Baptist
                      Church, Inc.; Virginia-Highland Church, Inc.; and
                      The Sixth Episcopal District, Inc.
       Case 1:18-cv-05391-SCJ Document 193 Filed 01/08/20 Page 6 of 7




                         CERTIFICATE OF SERVICE

   I hereby certify that on this, the 8th day of January 2020, I electronically

filed the foregoing Plaintiffs’ Third Supplemental Expert Disclosures with the

Clerk of Court using the CM/ECF system, which will automatically send

notification of such filing to Counsel of Record:


Chris Carr, Esq.
Attorney General
Dennis Dunn, Esq.
Deputy Attorney General
Russell Willard, Esq.
Senior Assistant Attorneys General
Georgia Office of the Attorney General
40 Capitol Square
Atlanta, GA 30334
Telephone: (404) 656-3300
Fax: (404) 657-8733
ccarr@law.ga.gov
ddunn@law.ga.gov
rwillard@law.ga.gov

Bryan Tyson, Esq.
Bryan Jacoutot, Esq.
Taylor English Duma LLP
1600 Parkwood Circle
Suite 200
Atlanta, GA 30339
Telephone: (678) 336-7249
Fax: (404) 856-3250
btyson@taylorenglish.com
bjacoutot@taylorenglish.com
      Case 1:18-cv-05391-SCJ Document 193 Filed 01/08/20 Page 7 of 7




Joshua Barrett Belinfante, Esq.
Brian Edward Lake, Esq.
Carey Allen Miller, Esq.
Vincent Robert Russo, Jr., Esq.
Alexander Denton, Esq.
Robbins Ross Alloy Belinfante Littlefield, LLC -Atl
500 Fourteenth Street, NW
Atlanta, GA 30318
Telephone: (678) 701-9381
Fax: (404) 856-3250
jbelinfante@robbinsfirm.com
blake@robbinsfirm.com
cmiller@robbinsfirm.com
vrusso@robbinsfirm.com
adenton@robbinsfirm.com




                                  /s/ Leslie J. Bryan
                                  Leslie J. Bryan
                                  Georgia Bar No. 091175
